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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                           : Hon. William H. Walls
                                                     Crim. No. 09-56 1
               V.
                                                     CONTINUANCE ORDER
TAMIR THOMAS,
 a/k/a “Po”

               This matter having come before the Court on the joint application of Paul J.

Fishman, United States Attorney for the District of New Jersey (by Brooke E. Carey, Assistant

U.S. Attorney), and defendant Tamir Thomas, a/k/a “Po” (by John Yauck, AFPD) for an order

granting a continuance of the proceedings in the above-captioned matter, and the defendant being

aware that he has the right to have the matter brought to trial within 70 days of the date of his

appearance before a judicial officer of this court pursuant to Title 18 of the United States Code,

Section 3161 (c)(1), and as the defendant has consented to such a continuance, and for good and

sufficient cause shown,                /1/ji/L        /4 )-W
               IT IS THE FINDING OF THIS COURT that this action should be continued for

the following reasons:

                1. Defendant has consented to the aforementioned continuance; and

               2. Pursuant to Title 18 of the United States Code, Section 3161(h)(8), the ends of

justice served by granting the continuance outweigh the best interests of the public and the

defendant in a speedy trial.
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              IT IS ORDERED that the period from March 25, 2010 through Apri++9-, 2010

shall be excludable in computing time under the Speedy Trial Act of 1974, pursuant to Title 18,

United States Code, Section 3161(h)(8).




                                                 United States District Judge




Counsel                Tamir Thomas
